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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
Vv. : CRIMINAL NO.: 5:25-CR-349-2
RAYMOND BERRONES II ;

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his/her rights with respect to the pending
indictment/information. I have reviewed the provisions of the United States Sentencing
Commission’s Guidelines Manual and Policy Statements and I have fully and carefully explained
to Defendant the provisions of those Gutdelines which may apply in this case. I have also explained
to Defendant that the Sentencing Guidelines are only advisory and the court may sentence
Defendant up to the maximum allowed by statute per count of conviction. I have also explained to
Defendant that sentences on multiple counts may be imposed to run consecutively to one another
or to any other sentence. Further, | have carefully reviewed every part of this plea agreement with
Defendant. To my knowledge, Defendant's decision to enter into this agreement is an informed

and voluntary one.

Einbe Ouile Ye Gpth 28 20.6
Emilio Davila Jr. : Date :
Attorney for Defendant

I have consulted with my attorney and fully understand all my rights with respect to the
indictment/information pending against me. My attorney has fully explained, and I understand, all
my rights with respect to the provisions of the United States Sentencing Commission’s Guidelines

Manual which may apply in my case. I have read and carefully reviewed every part of this plea

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agreement with my attorney. | understand this agreement and | voluntarily agree to its terms.

of x
Byori 48 ROZS
RAYMOND BERRONES IL Date
Defendant

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